       Case 1:11-cr-00026-LJO Document 549 Filed 02/26/15 Page 1 of 2
 1
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 5

 6   ATTORNEY FOR Defendant,
     JULIE DIANNE FARMER
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 8
                                      UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
                                                    ******
11   UNITED STATES OF AMERICA,                             Case No.: 1:11-CR-00026-LJO
12
                       Plaintiff,
13                                                         REQUEST TO EXONERATE BOND
              v.                                           WITH ORDER
14
     JULIE DIANNE FARMER,
15
                       Defendant.
16

17            Defendant, Julie Dianne Farmer, by and through her counsel of record, Anthony P.
18   Capozzi, hereby requests that the following property posted as collateral in the above-
19   referenced matter be exonerated and the Deed of trust returned.
20            Owner of Record: Benjamin P. Farmer and Betty J. Farmer, husband and wife.
21            Deed Number: 2011R-004265 - Docket number 72, filed February 9, 2011.
22            This request is based on the fact that Defendant surrendered herself to the United
23   States Bureau of Prisons on February 9, 2015 at Dublin, California.
24

25                                                Respectfully submitted,
26   DATED:          February 23, 2015      By: /s/Anthony P. Capozzi
                                                ANTHONY P. CAPOZZI
27
                                                Attorney for Defendant JULIE DIANNE FARMER
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                                                          1
                                            REQUEST TO EXONERATE BOND
                                            CASE NO.: 1:11-CR-00026 LJO
      Case 1:11-cr-00026-LJO Document 549 Filed 02/26/15 Page 2 of 2
 1                                   ORDER

 2

 3          It is hereby ORDERED that the property bond posted in the above-entitled matter be

 4   exonerated and reconveyed to the party who posted it.

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 6   IT IS SO ORDERED.

 7      Dated:    February 24, 2015                          /s/ Lawrence J. O’Neill
                                                     UNITED STATES DISTRICT JUDGE
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                                      REQUEST TO EXONERATE BOND
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